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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     RUSSELL EUGENE GILMORE
6
7                                     UNITED STATES DISTRICT COURT
8                                   EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,                    )   Case No. 2:13-cr-300 GEB
                                                  )
10                           Plaintiff,           )   STIPULATION AND [PROPOSED] ORDER
                                                  )   TO CONTINUE MOTION IN LIMINE
11         v.                                     )   BRIEFING SCHEDULE AND HEARING
                                                  )
12   RUSSELL EUGENE GILMORE, et al.,              )   Date: October 16, 2015
                                                  )   Time: 9:00 a.m.
13                           Defendants.          )   Judge: Hon. Garland E. Burrell, Jr.
                                                  )
14
15           IT IS HEREBY STIPULATED by and between Benjamin Wagner, U.S. Attorney,
16   through Samuel Wong Assistant United States Attorney, attorney for Plaintiff, and Heather
17   Williams, Federal Defender, through Assistant Federal Defender Matthew C. Bockmon, attorney
18   for Russell E. Gilmore, Mark Reichel, attorney for John H. Mahan and Michael Bigelow,
19   attorney for Richard D. Hemsley, that the motion in limine briefing schedule be modified as
20   follows:
21           Motions due: October 30, 2015
22           Oppositions due: November 6, 2015
23           Reply due: November 13, 2015.
24           It is further stipulated that the Motion Hearing currently set for October 16, 2015 be
25   vacated and set to November 20, 2015 at 9:00 a.m.
26           Speedy trial time has previously been excluded until December 1, 2015 under 18 U.S.C.
27   § 3161 (h)(7)(B) (iv) (Local Code T4).
28

      Stipulation to Continue Briefing Schedule       -1-
      and Motion Hearing
       Case 2:13-cr-00300-GEB Document 97 Filed 10/15/15 Page 2 of 3


1    IT IS SO STIPULATED.
2                                                 Respectfully submitted,
3                                                 HEATHER E. WILLIAMS
                                                  Federal Defender
4
5    DATED: October 14, 2015                      /s/ Matthew Bockmon
6                                                 MATTHEW C. BOCKMON
                                                  Assistant Federal Defendant
7                                                 Attorney for Defendant
                                                  Russell E. Gilmore
8
9    DATED: October 14, 2015                       /s/ Mark Reichel
                                                  MARK REICHEL
10
                                                  Attorney for Defendant
11                                                John H. Mahan

12
     DATED: October 14, 2015                      /s/ Michael Bigelow
13                                                MICHAEL BIGELOW
14                                                Attorney for Defendant
                                                  Richard D. Hemsley
15
     Dated: October 14, 2015                      BENJAMIN B. WAGNER
16                                                United States Attorney
17                                                /s/ Samuel Wong
18                                                SAMUEL WONG
                                                  Assistant United States Attorney
19                                                Attorney for Plaintiff

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      Stipulation to Continue Briefing Schedule     -2-
      and Motion Hearing
       Case 2:13-cr-00300-GEB Document 97 Filed 10/15/15 Page 3 of 3


1                                                  ORDER
2            The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. The
4    Court finds that the ends of justice to be served by granting the requested briefing schedule and
5    continuance outweigh the best interests of the public and defendant in a speedy trial. Under the
6    Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) (Local Code T4) time remains
7    excluded until December 1, 2015.
8            It is further ordered that the October 16, 2015 motions hearing be vacated, and be set for
9    November 20, 2015 at 9:00 a.m. The proposed briefing schedule is adopted.
10   Dated: October 14, 2015
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      Stipulation to Continue Briefing Schedule       -3-
      and Motion Hearing
